                          UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF NORTH CAROLINA
                               SOUTHERN DIVISION

BRENT NIX, individually and on behalf of all others   Civil Action No. 7:17-CV-00189-D
similarly situated,

                               Plaintiff,

       v.

THE CHEMOURS COMPANY FC, LLC, THE
CHEMOURS COMPANY, E.I. DUPONT de
NEMOURS AND COMPANY, INC., E.I.
DUPONT CHEMICAL CORPORATION, ELLIS
H. MCGAUGHY, and MICHAEL E. JOHNSON,

                               Defendants.

ROGER MORTON, individually and on behalf of           Civil Action No. 7:17-CV-00197-D
all others similarly situated,
                               Plaintiff,
       v.

THE CHEMOURS COMPANY FC, LLC, THE
CHEMOURS COMPANY, E.I. DUPONT de
NEMOURS AND COMPANY, INC., E.I.
DUPONT CHEMICAL CORPORATION, ELLIS
H. MCGAUGHY, AND MICHAEL E. JOHNSON,

                               Defendants.

VICTORIA CAREY, MARIE BURRIS,                         Civil Action No. 7:17-CV-00201-D
MICHAEL KISER, and BRENT NIX,
individually and on behalf of all others similarly
situated,

                              Plaintiffs,

       v.

E.I. DUPONT de NEMOURS AND COMPANY
and THE CHEMOURS COMPANY FC, LLC,

                               Defendants.




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       ORDER GRANTING PLAINTIFFS’ UNOPPOSED MOTION TO UNSEAL
       CERTAIN DOCUMENTS FILED IN CONNECTION WITH THE PARTIES’
               DAUBERT AND SUMMARY JUDGMENT MOTIONS

       On October 29, 2024, Plaintiffs filed a Motion to Unseal Certain Documents Filed in

Connection with the Parties’ Daubert and Summary Judgment Motions. The documents that

Plaintiffs seek to have unsealed were filed provisionally under seal but are not subject to a pending

motion to seal by any party. Defendants do not oppose the Motion.

       It is ORDERED that Plaintiffs’ Motion is GRANTED. The Court hereby orders that the

following documents be unsealed and made public: D.E. 519, D.E. 523, D.E. 524, D.E. 566, D.E.

568-2; D.E. 568-3; D.E. 568-4; D.E. 568-5; D.E. 568-8; D.E. 568-10, D.E. 575, D.E. 577-1, D.E.

578, D.E. 580, D.E. 580-1, D.E. 585, D.E. 586, D.E. 588-2, and D.E. 588-3.



SO ORDERED. This the _____ day of ______________, 2024.
   Dated: July 2, 2025

                                                  ______________________________________
                                                  Robert T. Numbers, II
                                                  United States Magistrate Judge




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